
13 N.Y.2d 707 (1963)
Humble Oil &amp; Refining Company, Appellant,
v.
Eric Trenck et al., Respondents.
Court of Appeals of the State of New York.
Argued May 7, 1963.
Decided May 29, 1963.
George A. Burrell for appellant.
Albert H. Treiman for respondents.
Concur: Chief Judge DESMOND and Judges DYE, FULD, VAN VOORHIS, BURKE, FOSTER and SCILEPPI.
Judgment reversed and matter remitted to Special and Trial Term with directions to grant the relief demanded in the complaint, with costs in all courts, for the reasons stated in the dissenting opinion of the Appellate Division. No opinion.
